         Case 2:07-cr-00036-MCE Document 52 Filed 06/21/07 Page 1 of 1


                                 MEMORANDUM

The Honorable Gregory G. Hollows
U. S. Magistrate Judge
Sacramento, California
                                                   RE:      Jeremiah Urch
                                                   Doc. No.2:07-CR-0036 MCE
Your Honor,


On March 21, 2007, the defendant appeared before the Court and was ordered released from
custody to participate in residential substance abuse treatment at The Effort. Your Honor
ordered that Mr. Urch appear before you approximately one week prior to his completion
date to review his conditions of release. Mr. Urch has successfully participated in residential
substance abuse treatment and is expected to complete 90 days at The Effort on Wednesday,
June 20, 2007.


Pretrial Services recently advised the Court and all parties that Mr. Urch has decided to enter
a transitional living program in Sacramento immediately upon his release from The Effort.
The parties agreed, with the Court’s consent, that an appearance before Your Honor be
waived given his decision to continue living in a structured sober living environment.


EVALUATION AND RECOMMENDATION: Pretrial Services respectfully recommends
that condition number eight be waived and that the defendant be permitted to participate in
a transitional living program as directed by Pretrial Services.


                                           Respectfully submitted,

                                           / Steven J. Sheehan/


                                           Steven J. Sheehan
                                           U.S. Pretrial Services Officer
Approved: 6/20/07
                                           /s/ Gregory G. Hollows
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urch                                       U.S. Magistrate Judge
